48 F.3d 1218NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Darryl L. WRIGHT, Petitioner-Appellant,v.Parker EVATT, Commissioner;  T. Travis Medlock, AttorneyGeneral of the State of South Carolina,Respondents-Appellees.
    No. 94-6987.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  February 16, 1995.Decided:  March 9, 1995.
    
      Darryl L. Wright, Appellant Pro Se.  Donald John Zelenka, Chief Deputy Attorney General, Columbia, SC, for Appellees.
      Before HAMILTON and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief without prejudice on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion adopting the magistrate judge's report and recommendation discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Wright v. Evatt, No. CA-94-2073-3-21AK (D.S.C. Aug. 22, 1994).
    
    
      2
      Further, we deny Appellant's Motion for Relief from Judgment under Fed.R.Civ.P. 60(b);  such a motion is more properly filed in the district court.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    